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                       UNITED STATES DISTRICT COURT
                                                                          I   MAY 06 2015
                                                                         CLEIIKUS DlsrllllCt COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                SOUTHERN DISTRICT oF CAUI"ORNtJt.
                                                                    BY                        DEPUTY


UNITED STATES OF AMERICA,                   CASE NO. 15CR0449-BEN

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
ANTONIO RAFAEL TIRADO (1),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

-L   the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

-L   of the offense(s) as charged in the Indictment/Information:

     TITLE 21 U.S.C. §841 and 846; TITLE 21 U.S.C. §841 (a) (1).



          IT IS THEREFORE ADJUDGED that the                     is hereby discharged.


 DATED: APRIL 27, 2015


                                            U.S. District Judge
